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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

 In re:                                              Chapter 15

 MICHAEL DAVID GREENFIELD                            Case No. 21-11411 (SCC)
 a.k.a. MICHAEL BEN-ARI

          Debtor in a Foreign Proceeding.



          [PROPOSED] ORDER GRANTING CERTAIN DISCRETIONARY RELIEF
                  PURSUANT TO 11 U.S.C. §§ 1521(A)(5) AND 1521(B)

          Lior Dagan, in his capacity as the Court-appointed trustee and foreign representative

(“Trustee” or “Foreign Representative”) of debtor Michael David Greenfield (“Greenfield,” a.k.a.

Michael David Ben-Ari, or the “Debtor”), having filed a motion for entry of an order affirming his

authority to realize and take control of certain U.S.-based non-reserved identified assets of the

Debtor,non-reserved U.S.-based unidentified assets of the Debtor that may be identified in the

future, and U.S.-based reserved, identified and unidentified, assets (conditional upon the

agreement of the DOJ, which may be evidenced to the Court in a manner determined by the

DOJ)and repatriate the assets to Israel in an account held by the Foreign Representative as a trustee

of the Debtor (as to the motion, the “Motion”); and upon consideration of (i) the Declaration of

Amiad Kushner and the exhibit attached thereto; and the Declaration of Roman Peltsman, filed

concurrently herewith and in support of the Motion; and this Court having recognized the Foreign

Proceeding as a “foreign main proceeding” and Lior Dagan as the Foreign Representative of the

Debtor on August 5, 2021; and the Court having jurisdiction to consider this Motion pursuant to

28 U.S.C. §§ 157 and 1334; and this Motion being a core proceeding within the meaning of 28

U.S.C. § 157(b)(2)(P); and this Court having determined that the relief sought in the Motion is in




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the best interests of the Debtor, the Debtor’s creditors, and all other interested parties; IT IS

HEREBY ORDERED THAT:

       1.      The relief requested in the Motion is hereby granted as set forth herein.

       2.      The Foreign Representative is hereby entrusted with the exclusive authority to

administer, realize, and distribute the Debtor’s assets pursuant to 11 U.S.C. §§ 1521(a)(5) and

1521(b) and specifically repatriate the Assets to Israel.

       3.      This Court shall retain jurisdiction with respect to any and all matters relating to

the interpretation or implementation of this Order.

Dated: _____________________, 2022
       New York, New York



                                       HONORABLE SHELLEY C. CHAPMAN
                                       UNITED STATES BANKRUPTCY JUDGE




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